r*Case    1:17-cv-20158-JEM Document 38 Entered on FLSD Docket 04/20/2020 Page 1 AP
                                                                                 of 33

                                                                            Apr 16, 2020
                              UNITED STATES DISTRICT COURT FOR THE
                    X C°' A „ U : SOUTHERN DISTRICT OF FLORIDA
                                                                                    MIAMI
                                         MIAMI DIVISION
                   tS*
                           Cast. Number: 17-20158-CIV-MARTINEZ-GOODMAN
                            5,2
                              x
                                 minal Case Number: 12-10496-CR-MARTINEZ)

    THOMAS KEELAN,                                                                AP
             Petitioner,
                                                                            Apr 20, 2020
    vs.
                                                                                    MIAMI
    UNITED STATES OF AMERICA,

             Respondent.


                                       NOTICE OF APPEAL
                           REQUEST FOR CERTIFICATE OF APPEALABILITY

            Keelan has served 8 years in June, for crimes he did not

   commit. Considering the depth of Government perfidy, and the

   present pandemic, he should be released immediately, at least to

   home confinement for the rest of the mandatory minimum. This is a

   PRO SE motion, and must be reviewed liberally. His rights were

   violated in the following ways:

   1. KNOWING USE OF PERJURED TESTIMONY: This issue became cognizable

   ONLY on the Goodman/Martinez ruling on the 2255. Goodman says "the

   PRIOR sexual activity of J.S. has no bearing." Exclusion of evidence

   does NOT rewrite the truth: "Altman: Had you ever had sex before?

   J.S.: NO." (Trial, p.364) Every phase of the proceedings was

   prejudiced by this falsehood. This violates profoundly the 5th and

   14th Amendments promise of Due Process.

   2. UNEQUAL TREATMENT BECAUSE OF HOMOSEXUALITY:

          A. Manufactured outrage: Keelan acted ONLY when J.S.'s LIFE

   appeared to be in serious danger from his family's abuse. Keelan

                                               -1-
«
    Case 1:17-cv-20158-JEM Document 38 Entered on FLSD Docket 04/20/2020 Page 2 of 33
     STOPPED the suicidal behavior caused by the family. Even the 11th

     Circuit CAP missed this fact on direct appeal, characterizing J.S.'s

      testimony as the OPPOSITE of what it was. FDLE Agent Cannon KNEW

      the truth and concealed it from the Court:       "You give me the freedom

     and security I need to survive, you know that." (Email RE:IAY,

      given to Keelan, along with some 90 others, AFTER trial, in

      barely legible mutilated form.)

           B. DOUBLE JEOPARDY: As far as he can see, Keelan is the ONLY

      person ever charged with- 2422(b) for persuading the same person

     TWICE. FDLE Agent Cannon relied on the relationship being continuous

      in his brutal attempts to trap Keelan:       "One: I love you, always

     will!" (Cannon-as-Jacob, email Re:IAY, concealed and mutilated.)

           C. ENTRAPMENT to MANUFACTURE FEDERAL JURISDICTION with Count

     Two: Count One had a sexual relationship with no persuasion by

      Keelan, with NO Federal jurisdiction. Keelan had a human being

     BLEEDING in front of him, saying he "needed the relationship to

      live." (Confirmed at trial) The concealed emails from Cannon-as-

     J.S. show HOW a young man can emotionally manipulate an older one,

      by MAKING HIM RESPONSIBLE for the young man's LIFE. "I was hurting

      because my family was hurting me...Without you to give me my sense

      of worth, I didn't value my life at all... (C-as-JS, Re:IAY) "Hearing

      you in pain causes me interminable grief." (Keelan in "Re:Always",

      another mutilated and concealed email.) Exhibit C shows the
      illegible discovery version and the concealed version released after

      trial.

           D. INCORRECT STANDARDS OF REVIEW FOR BRADY MATERIAL:

      in Wearry v. Cain in 2016, the Supreme Court clearly said that

     withheld evidence that "put the whole case in a different light"


      alone can support relief. Hence, one "can prevail even if...the


                                          -2-
Case 1:17-cv-20158-JEM Document 38 Entered on FLSD Docket 04/20/2020 Page 3 of 33

  undisclosed information would not have affected the jury's verdict."

  Certainly, the POLICE agent's knowledge that Keelan acted ONLY

  when he feared for J.S.'s life, and the knowledge that J.S. had

  PURSUED and MANIPULATED older men, BOTH put the whole case in a

  profoundly different light. Cannon relied on a plausible narrative,

  one that was profoundly untrue: that Keelan had seduced an innocent

  virgin to suicide. J.S.'s family from the beginning, lied about the

  cause of the suicidal behavior; this OPEN truth, ignored by the

  Court. Cannon relid on HOMOPHOBIC COGNITIVE BIAS, knowing that the

  "angels-and-demons" version he wrote with the family would be easily

  believed by the jury and court.

        E. HOMOPHOBIC BIAS: In every phase of the proceedings,

  the government used, intentionally, what they knew would work on

  heterosexuals. Altman struck any "never married men," from the jury

  pool, a practice condemned in the 9th Circuit. He profiled for

  homosexuality, and struck without cause.         One 21-year-old male

  was struck by the defense. ALL the others were over 30 and never

  married, making the only group systematically struck in its

  entirety by either side. When Keelan pointed this out to his

  direct appeal team, a bigoted assistant refused to report it to

  his primary attorney, Paul Petruzzi. The attorney sabotaged the

  Direct Appeal, concealing correspondence from Petruzzi as well.

  The attorney, Tony Moss, wrote abusive letters to Keelan, without

  Petruzzi's knowledge. He subscibed to the "virgin" theory that

  Goodman/Martinez NOW claim is UNTRUE. As well, Goodman misstated

  the law because of homosexuality. Keelan's ability to communicate

  with Petruzzi, even on the 2255, was intentionally hampered by the

  government at every turn. He was even denied an interview with

  NPR by the Warden, when a heterosexual was allowed such an interview.

                                      -3-
Case 1:17-cv-20158-JEM Document 38 Entered on FLSD Docket 04/20/2020 Page 4 of 33
                                  TIMELINESS

        Keelan would have liked to be able to engage an attorney from

  Lambda Legal, or at least have been        able to develop these issues

  fully. However, the conditions at FCI Fort Dix are extremely difficult

  because of the Corona virus pandemic. Normal typing and copying

  facilities are not available, and this had to be rushed. Please

  consider the issues in this light.

                     KNOWING USE OF PERJURED TESTIMONY

        Keelan was never allowed to see the motion to introduce

  evidence to which Judge Goodman refers.        (ECF No.29, p.l), nor

  Judge Martinez's sealed ruling.      (CRDE No. 34,p.2) The rape shield

  rule is a just one, but Judge Martinez committed clear error in

  implementing it in a "persuasion" case.

        The possibility that a young gay man would be attracted to

  older men, and    overwhelmingly so, was simply not imagined as a

  possibility. It was BEYOND the moral imagination of all hetero­

  sexuals, which included all       courts, all lawyers, and all jurors.

        Knute R.'s affidavit, presented in Keelan's 2255 (and

  confirmed by J.S.'s "wilderness confession*'), showed that J.S.

  had been in "Younger for Older" chat rooms on gay.com. as early

  as fall of 2008, a year and a half bfore he met Keelan. Rule 412

  clearly states that the Court "MUST CONDUCT AN IN CAMERA HEARING

  AND GIVE THE VICTIM AND PARTIES A RIGHT TO ATTEND AND BE HEARD.

        The Goodman/Martinez ruling clearly states that J.S.'s

  PURSUIT of older men was a reality, and that he had both engaged

  in unusual practices, (open Skype shows inserting objects), and

  had met random men in public places to perform fellatio. This

  is NOT an indictment by Keelan of J.S. In fact, he seems to be the

  only one who understood the force of J.S.'s internal desire to

  express his sexuality. For heterosexuals pursuing older women,

                                       -4-
Case 1:17-cv-20158-JEM Document 38 Entered on FLSD Docket 04/20/2020 Page 5 of 33
  there are any number of American Pie-style movies to look to for

  affirmation that the practice is at most mildly amusing. J.S.

  had a family routinely and savagely suppressing his homosexuality,

  and his fierce counter reaction should be expected.

       No less a source than Altman himself pointed out the inap­

  plicability of 2224(b), or the rape shield.

       "This isn't rape...I want to be very clear, I am not suggesting

  that the defendant pressured J.S. against his will. That is not an

  issue here..." AUSA Altman, trial p.593.

       What is persuasion, enticement, inducement or coercion, BUT

  pressure to create ASSENT, which is the interpretation of the law

  in the 11th Circuit as elsewhere.'

       The AUSA then said that Keelan "created a world" for J.S. in

  which he wanted to have sex.       (p.593). Besides being a ludicrous

  interpretation of the statute, the "Younger for Older" world had

  existed for J.S. for at least a year and a half; Keelan knew nothing

  of this until post-arrest. He did not meet J.S. online,

       By excluding the TRUTH,       the prosecution, at least in the person

  of Agent Cannon fatally prejudiced the trial.

       Look at Exhibit A, and see the 70-year-old lover with J.S.

  3 months before trial. That an older man could have given J.S. the

  happiness to avert suicide is CLEAR, since as soon as he was

  released from (an illegal) confinement, he went back to a man he

  MET ONLINE as a minor who was some 15 years older than Keelan.

        All his PRIOR sexual relationships as granted by the Court

  PROVE all the following as lies:

  His statement to the Grand Jury:

        "J.S.: Uhm, I mean, I never experienced anything sexual before'1

        That statement was rehearsed with Agent Cannon.        It appears


                               -5-
Case 1:17-cv-20158-JEM Document 38 Entered on FLSD Docket 04/20/2020 Page 6 of 33
  in Discovery #281, and is preceded by this statment by Cannon on

  P • 277 "Cannon:iAiright. Now, bring you back and we'll start all

  over."

        Cannon knew of the existence of his prior relationships, of

  the "created world" in which J.S. existed BEFORE Keelan.

        AUSA ALtman had J.S. repeat it at the start of his testimony,

  but then hammered it home on re-direct as quoted in the intro­

  duction "Altman: Had you ever had sex before? J.S.:"NO."

        Altman then again hammered the falsehood home in his summation,

  not once, but twice: it was absolutely ESSENTIAL for conviction,

  and the family's subsequent claim for MONEY:

        "Altman:And so soon, J.S. was doing things he'd never done,

           or ever dreamed of doing before," (trial p.540)

                                       and

        "Altman: Jacob was a 15-year-old Orthodox Jewish boy who

           had never had sex before,    (trial p.562)



        The reason this ws5not brought up on direct appeal, was that

  the LIE ITSELF prejudiced Keelan's OWN attorneys. This is attorney

  Tony Moss in a letter to Keelan when he tried to show him that J.S.

  said he needed the relationship to live, threatening          suicide if

  Keelan did not acquiesce: "A fifty-two-year-old man being emotion­

  ally coerced by a 15-year-old kid, and a VIRGIN AT THAT?" .

        It is not only the jury that was prejudiced by this lie. Moss's

  statement is the REASON this issue is still cognizable: the

  KNOWING PERJURY by a government witness biased all of society,

  INCLUDING the defense.

            THE 11th CIRCUIT MUST OVERTURN ON THIS ISSUE ALONE!

        The law is clear. In these cases, "...any reasonable like-


                                       -6-
Case 1:17-cv-20158-JEM Document 38 Entered on FLSD Docket 04/20/2020 Page 7 of 33
  lihood that the false testimony could have affected the judgment

  of the jury." Trepal v. Sec'y Fla Dep't of Corr. 485 Fed. Appx. 428

  2012 US App LEXIS 26750(llth CAP, FLA, August 14,2012).

           The 11th Circuit continually ignores Wearry in its assesment

  of Brady evidence, but this falsehood qualifies as an example of

  the even stricter requirements of the Brady progeny of Giglio.

  "Giglio also applies where the prosecutor... made "explicit factual

  representations" to the court or "implicit factual representations

  to the jury" knowing that these representations were false."

  United States v. Alzate 47 F.3d at 110, citing Augury 427 US at 103-

  104 96 S.Ct at 2397. Alzate goes on to add "The reason the lower

  materiality burden applies where there is knowing use of perjured

  testimony is that such a situation involves prosecutorial misconduct

  and a corruption of the truth-;seeking function of the trial,         (above)

           The falsehood went so far as to fool Magistrate judge McAliley

  into making a fully counter-factual assertion in her ruling on

  restititution "...these reports indicate that to the extent that

  the minor victim engaged in self-destructive behavior with other

  adult male predators, these activities occurred ONLY AFTER he was

  abused by the defendant, and were a foreseeable result of the

  defendant's abuse."(Doc.     160, p.12)

           Keelan is rightfully anguished'about this ruling, even more than

  his sentence. If he was not FIRST, as the Government knew he was

  not, HE was the product of earlier abuse. How can a magistrate

 judge IGNORE a previous motion concealing the truth. Only extra­

  ordinary homophobic bias is possible. J.S.'s family was intent on

  rstitution, and concocted the story that Keelan caused the suicidal

  behavior that they caused. Keelan was the only on of J.S.'s conquests

  connected to a deep-pockets liability policy! But a simple look at

  -i - '
                                     -7-
Case 1:17-cv-20158-JEM Document 38 Entered on FLSD Docket 04/20/2020 Page 8 of 33
  Exhibit A, showing J.S. with the man he married and dated during

  Keelan's trial, the man with whom he repeated the homosexual activities

  so villified in Keelan's trial.He even did so DURING trial. Art

  Foley and J.S. waited until the week after Keelan's sentencing so

  as not to publicly draw attention to the falsehood . When Petruzzi

  tried to speak to J.S., Foley threatened to sick his dogs on both

  Petruzzi and BettyVasquez. They subsequentlyfiled a fully spurious

  Bar Complaint.

       When J.S. won the money awarded to the family by McAliley,

  HIS FAMILY SUED HIM!

       The restitution ruling has been used as precedent in a vast

  number of other cases of 2422(b), and the government has a vested

  interest in IGNORING TRUTH in this case.

       As wrenching as the ruling might be, it is required by BASIC

  JUSTICE. Justice without truth is the fiction of fascism.

       Please remember that the prosecution "team is considered a

  unitary entity, and favorable information possessed by the police

  but unknown to the prosecutor isnonetlfteless subject" to the Brady

  test. " Breedlove v. Moore 21 ‘i 1“»     ^ ^ Cc/\P I*)

       Even more disturbing is that Judge McAliley now characterizes

  J.S.'s willful and hotly pursued happiness in his marriage to Art

  Foley as "abuse from another adult male predator." Indeed, J.S.

  met Foley online, and thus he is guilty of 2224(b), the online

  component adding the Federal jurisdiction that is NOT truly extant

  in Keelan's case.

               THEllth MUST OVERTURN ON THIS ISSUE ALONE.

       Upon recept of the COA, Keelan will brief these motions in

  full. The Court must be lenient given the present impossible

  circumstances.


                                     -8-
     Case 1:17-cv-20158-JEM Document 38 Entered on FLSD Docket 04/20/2020 Page 9 of 33
      A. MANUFACTURED OUTRAGE: Anyone who caused J.S. to fall into an
       ever-worsening spiral of self-harm desrves not 200 months, but

       death. Had Keelan done so, he would have committed suicide. The
       outrage, published as far as The London Daily Mirror, was a FICTION.

       J.S.'s testimony about the cause of the suicidal behavior is repro­

       duced below directly from the transcript. J.S. was in an ever-

       worsening spiral NOT because of his sexuality, but his family’s
       religious-based suppression of it. The testimony is UNEQUIVOCAL:
           8       A.   There was a period in my hfe, I have to put it arouno the
           9       summer year of my 9th grade year, a lot was going on.     You know,
          10       finding out who I was with religion and stuff like that, I got
p.227-228          very_depressed and I started to cut myself. J
  Trial.   11
  Transcript
  (events,         Q.   Could you just lay out a little bit more for the jurors why
    June 2009
  Testimorf^        you would cut yourself?
   (January 201j   )
                        well, there are a couple of reasons,    I mean one, I couldn’t
          15       deal with the emotions that were going on, that was the easiest.
          16       way to do it for me.     I -- well, religiously my parents were
          17       pretty religious and I wasn't so sure that I wanted to be
          18       religious.   And, you know, at the time, I just felt like my
          19       parents couldn’t accept that,    So I brought it up a couple of
          20       times, but it was easier to cut myself.
          21                And also, I felt like I had feelings towards guys at
          22       the time and I didn't know how to bring that up, especially in
          23       the religious society that, you know, the community that I was
          24       living in at the time.
          25       Q.   Now, with what kind of things would you cut yourself with?
           l       A.   well, first it wasn't very frequent.    It was, you know,
           2       maybe once a month, once a week, once a month.     It progressively
           3       got worse, eventually I did it during school hours.     Anything I

           ;/      could find, get my hands on:    Knives, scissors, pens, anything

                   sharp enough that would do the job.
                                          -9-
              Case 1:17-cv-20158-JEM Document 38 Entered on FLSD Docket 04/20/2020 Page 10 of 33
                      Indeed, what STOPPED the suicidal depression and reversed the

                progress of the suicidal behavior is equally clear:


                    9           Q.   So that's sort of what in this context, you picked Tom,
                   20           right?

t■ *       Jacob's 21           A.   if we look at it that way, yeah.
           cross
           p. 338-3^2           Q.   And then once you started sleeping with him, you were happy,
           Trial
           Transcri^            right?
           (January24    |      A.   At the time I thought I was happy, yes.
            2013)
                   25          Q.    well, you stopped cutting yourself at that point, right?
                    1          A.    No, I still cut myself occasionally.
                    2          Q.    Okay.
                    3          A.    Yeah.
                    4          Q.    with less frequency?

                    5          A.    Yes, with less frequency.

                    6          Q.    Tom really did not want you to be cutting yourself?

                    7          A.    That's what he claimed, yeah.




                        The 11th Circuit's reference to this testimony is bafflingly
                wrong-headed :



       t                             Case: 13-11878     Date Filed: 05/13/2015   Page: 15 of 15
  11th Cir. CAP
  Decision LIES                                        The chronology of the trial evidence firmly supported
  about MURDER!
                             the conclusion that J.S.’s prior mental health problems were secondary to Keelan’s

                             manipulation and abuse. J.S.’s mental well-being, according to his own trial

                             testimony, deteriorated precipitously after Keelan sexually exploited him.



                                                            -10-
       Case 1:17-cv-20158-JEM Document 38 Entered on FLSD Docket 04/20/2020 Page 11 of 33
                  Please look at J.S.'s testimony about the cause of the cutting

          and the depression, and process the false statements by his family

          to police and courts:

          Elyse S., discussing the possibility of the parents' suing:

               ■'Elyse Sffemw, Esq.< elysesrtWta@gmail.com>              Thu. Aug 25, 2011 at 4:24 PIV
Elyse saSBSSta-To: david@seltzerlaw.com                 MUNCHAUSEN-by-PROXY
LIES to attorney            Keelan is militantly gay and proud former Catholic, groomed Jssst to hate Jews women any form of
MVSh.vior !5S5SS5^
SHE helped CAUSE! beginning of Keelan's abuse^A/Ve sent Jacob to therapy but it did not help the depression '

          Dr. John Shaw of the University of Miami:
      accusations, Dr. Shaw concluded that “[i]t is apparent in retrospect that a continuous thread in his

      psychological presentation and suicidal ideation was related to his sexual involvement with an

      adult.” KEELAN HAS THE RIGHT TO BE FURIOUS AT OPEN FALSEHOOD FOR $$$.

                   Again, Keelan points out that the suicidal behavior WAS

          CAUSED BY THE FAMILY. Look back at RE:IAY, and realize that

          Agent Cannon knew this to be true. "You give me the freedom and

           security I need to survive, youknow that...I was hurting because

          my family was hurting me...Without you.. . Ididn't value my life

          at all."

                   What did Dr. S, J.S.'s father tell psychologists? The

           falsehood propagated by Cannon, with or without the knowledge

           of AUSA Altman.



                      All this time J.S. was afraid to tell us what was

             happening to him.            He started to cut himselfr                 We took him to a

             psychologist.          Then to a psychiatrist, Dr. Shaw,                     Chairman of

             the Department of Child Psychiatry at the University of Miami.

                           Eventually as we confronted J.S. more and more, and as

             things got really worse, for J.S.'s safety




                                                            -11-
Case 1:17-cv-20158-JEM Document 38 Entered on FLSD Docket 04/20/2020 Page 12 of 33
          If any right-wing organization ever finds this, the 11th

  Circuit, upheld by the Supreme Court's refusal of Certiorari,

  has established that MENTAL WELL-BEING FOR GAY MEN IS SUICIDE!!!

                   Thismust be overturned at all costs.



  B.DOUBLE JEOPARDY: The issue is self-explanatory. If as Agent

  Cannon manipulated in his concealed emails, J.S. was continuing

  an ongoing relationship, which every one of the emails contended,

  then Count Two is simply Count One falsified for Federal jurisdiction.

  Keelan can find no other example in the judicial records of any

  circuit of another such charge.

          If the government claims the continuation of the relationship

  is two charges, what is to prevent them from dividing every second

  of the relationship, and charging Keelan for every day, multiplying

  charges to infinity. Why not charge him with 365 Counts for each

  day of the year?

          Keelan was charged with persuading or attempting to persuade

  J.S. into a sexual relationship on Count One, and persuading or

  attempting to persuade J.S. into a sexual relationship on Count

  Two .

          "...the Court must only look to the elements of each crime

  to determine whethere are two offenses or one." United States v.

  Ibarquen-Mosquera 634 F3d 1370 (CAP 11, Feb.10, 2011)

          There must be "two distinct statutory provisions." (Ibid.)

          BUT KEELAN IS A DISGUSTING FAGGOT, SO ANYTHING GOES.

  C. ENTRAPMENT TO MAUFACTURE JURISDICTION: Count Two is already

  shown to be spurious, but its implementation goes far beyond the

  bounds of acceptable conduct for the police. There has NEVER been

  a ruling of "outrageous      government conduct" in the 11th Circuit:
   as you have seen in RE:IAY, Cannon repeatedly threatens J.S.'s DEATH.

                                      -12-
Case 1:17-cv-20158-JEM Document 38 Entered on FLSD Docket 04/20/2020 Page 13 of 33
          Keelan had informed the rabbis at Hebrew Academy on THREE

   different occasions about the ever-worsening suicidal behavior,

   twice to Head Rabbi Shifman, and once to the "liberal" Rabbi

   Lefkowitz. They had a responsibility to report the familial

   abuse to state welfare. When Keelan offered to J.S. to go to

   state welfare himself, J.S. told him his parents would lie to

   authorities, presenting themselves as a putmpon religious family,

   and have J.S. locked up.

          These issues were never investigated. Keelan had good reason

   to believe such action by his family would push J.S. over the

   suicidal edge. When J.S. eventually told Keelan he wanted a sexual

   relationship "in order to live," Keelan REPEATEDLY refused as

   the REAL trial testimony showed. Did Tom tell you the relationship

  was a    fcad idea? J.S. Yes./Did Tom tell you he could love you

  without sex? J.S. Yes./Did you tell Tom...you needed the relationship

   to live? J.S. Yes, I was very dependent./Did you tell Tom you would

   find some other older man?J.S. Yes, I said that.

          Keelan believed that if he went to J.S.'s family, they would

   KILL him. J.S. belived so as well. It was the final assertion that

   J.S. would go "on the street" to find someone that ultimately made

   Keelan concede. Read the further evidence at trial that by this

   point J.S. was cutting his stomach and thighs, and showing Keelan

   the injuries, making him responsible.

          "To establish the defense of duress, a defendant must prove

   by a preponderance of evidence that: (1) he faced an immediate

   threat of imminent harm to himself or 0THERS;(2) he had a well-

   founded belief that the threat would be carried out;(3) he had no

   reasonable opportunity to escape or inform the police. United States

   v. Escudero 761 Fed. APPX 949 (11th CAP Feb.12, 2019), citing US


                                       -13-
Case 1:17-cv-20158-JEM Document 38 Entered on FLSD Docket 04/20/2020 Page 14 of 33
  v. Alzate, above.

        As well, in viewing the second count alone, "...government

  inducement requires an element of persuasion or mild coercion..."

  United States v. Brown 43 F.3d 618,       (11th CAP 1995)

        The following section on Brady goes a long way to explaining

  this issue on Count Two. Exhhibit B is Re:IAY, the most important

  piece of withheld evidence. The 80-90 pages of emails NOT given

  until Keelan until after trial are now in the hands of the Petruzzi

  firm. They WERE NOT INCLUDED IN DISCOVERY, and thus when he was

  appointed as CJA for the direct appeal, he was given none of them.

  Had Keelan been given the Federal maximum guideline for St^utory

  Rape, with no regard to the suicidal behavior being stopped,

  he still would have left prison in spring of 2016.

       Why was none of this brought up by his direct appeal attorneys?

  When Keelan sent a letter about the truth and the missing evidence

  to Petruzzi, it was intercepted by Tony Moss, with this as a response:

  "Here's what you don't seem to get, Tom: your case was lost the

  minute you admitted to Cannon and Carpintieri that you and Jacob

  had a sexual relationship... Come to think about it, I feel bad for

  Randall and Becker myself..." (Letter of June 9,2014.)

       This is NOT just ineffective counsel; this is sabotage by

  a defense attorney of his client's case. It is PURE HATRED of

  homosexuality, as Moss goes on to expose. The possibility of

  J.S. pursuing older men for sex, and having done so for years,
  simply escapes the hetero world. That a straight teen would be doing

  so is a GIVEN. We ARE the same as you.

       Moss made his ultimate statement, the one that caused Keelan's

  own son to abandon him: "Your own son...was once 15. If you as his

  father, were to have found out that some male teacher your age was



                                     -14"
Case 1:17-cv-20158-JEM Document 38 Entered on FLSD Docket 04/20/2020 Page 15 of 33
  giving him blowjobs in a parked car, or butt-fucking him in some

  fleabag motelwould you be so quick to say...if it makes him

  happy so be it?" (letter of June 9,2014)

        Petruzzi removed Moss immediately on seeing this, but it sums

  up the attitude of Martinez/McAliley/Goodman/J.S.'s family:

                           BETTER DEAD THAN GAY!

        Is this the position of the 11th Circuit?

        Moss's foul hatred is the majority position, one belied by

  Exhibit A, and by the extraordinary emotional appeal evinced

  by RE'IAY, Exhibit B.

        Exhibit C is the series of emails showing that on Count Two

  Cannon initiated contact, NOT Keelan as required by precedent in

  2422(b). It establishes that Cannon threatened Keelan repeatedly

  to initiate contact.

        Keelan in a text: I cannot function if you are in danger, ev<£h

  emotionally. Please be happy and patient. IAYA" (Dis. #220)

        It is a response to Cannon-as-J.S.'s text: I’m worried that

  you've moved on. I feel so alone." (#220)

        Cannon was brutal. Again, Keelan was made to feel that he

  alone was responsible for J.S.'s NOT committing suicide. It is sick.

        Likewise to Moss, Goodman said that J.S.'s state of mind was

  not relevant to the charge. This essentailly asserts that for

  homosexuals, persuq£i_on, statutory rape, and forcible rape are all

  the same.

        Remember that on Count Two J.S. was acting as an agent for the

  government, and REFUSED TO ALLOW KEELAN TO TURN HIMSELF IN ON

  COUNT ONE. Three times,    in fact.

       The police cannot insist on the commission of crime. These are

  in the phone records, and will be produced for a hearing.
       Death threats, 80-90 PAGES of emails (mutilated and withheld),


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Case 1:17-cv-20158-JEM Document
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                                             FLSD(> Docket 04/20/2020 Page 16 of 33
    he i




   D. BRADY MATERIAL: Putting the whole case in a different light:

   1. Knowing use of perjured testimony (Giglio standard)

   2. Perjury to Grand Jury (invalid indictment)

   3. Knowing falsehood on cause of suicide.(Deep prejudice)

   4. 80-90 PAGES of emails.     (Brady, requires explanation from FPD.)

   5. Photos of J.S. and husband 3 months before trial 6iN prison)

   6. Knute R.'s affidavit and appearance in JS confession.          (Showing

   government falsification of "virginity" j>y two years)

   7. Several minor perjuries by Cannon and Jacob. (Date of phone

   calls(J.S.) to parents about cutting, availability of witness

   Merrill; Cannon said he could not find, phone #in Keelan's contacts,

  which Cannon called ALL former students.)

                      In the context of a Brady claim,

                 a CUMULATIVE EVALUATION OF THE MATERIALITY

            of wrongfully withheld evidence is required.(Wearry)



  E. HOMOPHOBIC BIAS AND SUMMARY: Remember the words of Justice

  O'Connor "...the State cannot single out one indentifiable class

   of citizens for punishment that does not apply to everyone else,

  withmoral disapproval as the only asserted government interest."

   (Lawrence v. Texas) In 2018, the 11th Circuit acknowledged the truth

  of the Keelan case inSmith v. Berthiaume: "While some jurors are

  not biased based on sexual orientation, som-? ar e. . and many people

   still harbor bias against homosexuals."

           Until and unless homosexuals are treated EQUALLY before the

                                      -16-
Case 1:17-cv-20158-JEM Document 38 Entered on FLSD Docket 04/20/2020 Page 17 of 33

   law, BOTH J.S. and Keelan can look forward to nothing but the

   status of outcasts, a designation neither deserves. The denial of

   J.S.'s liberty led to the denial of Keelan's and police enabling

   of a fraudulent insurance claim.

    Let the words of Justice Kennedy finish:

   "Outlaw to outcast may be a step forward,        but it does not achieve

   the full promise of liberty." (Obergefell v. Hodges)



         Keelan apologizes for the rush job, but conditions are near

   unbearable. He is sending a copy to Lambda Legal to ask for an

   amicus filing.

         Please acknowledge the legitimacy of these claims, and do

   not allow him to die alone in New Jersey of corona virus disease.

         If you do so > PLEASE clear his name for having hurt someone

   for whomhe sacrificed his life to love. Let the legacy of love,

   however strange, be exposed for what it truly was.




                                      -17-
    ««    *
              J



                  Case 1:17-cv-20158-JEM Document 38 Entered on FLSD Docket 04/20/2020 Page 18 of 33

                        EXHIBIT A P.l

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Case 1:17-cv-20158-JEM Document 38 Entered on FLSD Docket 04/20/2020 Page 19 of 33




EXHIBIT A p.2
                     rf £
                     Mill



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                 A
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    Case 1:17-cv-20158-JEM Document 38 Entered on FLSD Docket 04/20/2020 Page 20 of 33
                                                              EXHIBIT B p.l
            Hotmail Print Message                                                                                Page i of 3




              Rs: IAY
               Ftor. .• Tom |?o«5f®co*.net}
Header #1                        Thu 5/31/121053 AM
               T b.              Rex nadr fle*con4444Shotroa&cow}
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                F»nc Ren rsasr e!er^'con44i®-hotma?Sxom>
Header #2       Sate: Thu.. 3.1 May 2012 09,37:43 -0430
              . Tor,Tom Kee^in<tox5B^cmmf>
                Subject: R£; [AY
                             ;                                               /
               Ihsfik you.... I car, talk Friday around 11 :sh is that ok |4lv;$ way we can talk and, enjoy each others
               company. Plus you am me hlpw to get to our place, ok let me know I will txt when I can going to toe
               Ufv? oanxa doctors Sylvester Cancer Center) withyhv father the whole family is going, as: you said
               Happy Happy ioy joy...

               > Date Web, 30 May m2 2*29:11 -0400
Header #3      > Ff#m: foxSS®03x.n,fet
               > To.; te«cm444#he|ltmeH.com
               > Subject: Rt: LAY
               :•*
                     You a:i> ?.o seeutj&Uajl*

               > — Sex nadr <JaiKon444@hotm3rf.com> wrote:
               > >
ALTERED
Header #4
               >
               5- > Ok, damn this was

               > > an emotional fetter, best so fart I also feel the same when we could talk for
               > > real as well.! believe you should understand everything. Being JNFP's. we want
               > > to       everything, especially about the person we are in a relationship with, to
               > > make us feel secure. I get it.
               > >
               > >
               5-        >

               > > Wow, that Is fucking dark f one of the%w times
               >     * 1 curse, bfvft. MO. NO. NO, NO. I wifi never kill you nor do I want to. You are
               >     > everything to me. believe it or not (you better'believe it}* Without you, I
               >     > would be lest, expeoafly now with mychaotk sod controlling family. You give
               >     > me hie freedom and security I need to survive: you know that!!
               :> >
               > >
               V         >

               > > I am good at getting people to bedeveme, but I
               > > am definitely no master. You taught me some here and there, but 1 am not super or
               > > anything tike that With you, [ can’t He. and you know that! The only time I
               > > «:ed was when the situation at home was too chaotic, but told you once the
               ■v •>                   nxtafttwf    $■**$?   v»K*a it   irw* mt srK when 5 '«*»«'? m«*ml




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Case 1:17-cv-20158-JEM Document 38 Entered on FLSD Docket 04/20/2020 Page 21 of 33
             > > To artswser tveo and those simultaneously:
             > > no, I was not vuiih other guys. I made it up to see your reaction because I was
             V > insecure about myself. 1 wanted to see i? I was really worthy without thinking

             > s about your feetings- sometimes >t is hard for me to think of you other than
             > - greatness (blush), As for my parents, they were in the dark the whole, time.
             > > They heard me talking to you at night, but didn’t know who. After the rumor,
             > ;v- they tried putting the pieces together. Since it was sti speculation , they are
             > > stlii In the dark. They 'start accusing me of anything and everything, from
             •> > smoking pot arid cigarettes to having, sex vwSh elds at my school ro having sex
             ■- > .v'-rh men, to having sex with older men, so me being a total dick and m.isrk
              • They did send me tc therapy:, they are the ones who should have went due to
             > = thsir own tears. After 1 started drinking, and they found cut, they %lt happy
             > > s>r,ce 1 backed up their reason for sending me to therapy, since I am always the    EXHIBIT B p.2
             > ;> black, screwed up sheep in the family,.
             >>
             > >
             :> >
                > The therapy was just with a group of kids
             >. > talking about our problems.. Mo one took anything seriously, everyone still did
             v > their shli. ar-d bullshitted. in boarding school, l could have gotten any
             > » materia* objects, virtually. There was one kid who lived in the area, so he was
             > > abte to sneak out and get some beer, snoops, weed etc. 1 never smoked., don't
             > > think I eve;" will, only drank, We being out of control really. Even though I
             » > was In -the house, i beca.rse more vial arid angcy, openly:, toward my parents. I
             > > started to curse more frequently and drink more often. 1 didn't care at mat
             > > point. Without you to give me my sense of worth. I didn’t value my life at ait.
             i- > I was hurting bad. No chance to contact you. Without school, there were no
             > > computes. Without computers there, I couldn't contact you as frequently. Mo
             > school also- meant m contact with human beings, no human beings •meant- no
             > ■> technology and freedom-. Mo technology -and freedom meant no tommy.. So, 1 was on '.
             > > lock down st the house.
             > >
               >
             > >
             ' > Yes, this emaii was a hard one tommy. 1 am
             > > super Impressed, most emotional one yet i believe (definitely top three)?!



    bnp://by i SSw.bav 15S.maiUive.coni/ixfail/Prin!Mcssases.aspx?cpids=53963a0S-ab30-11 e i -...            6/4/20 J 2


       >  > This is how wt get along and understand each other. I think we should have one
       .'•> once a wee* or so. Anything more would make us both emotional and chaotic lot
       >  > So. when you were going- through your pe. ar;via- and emotional break down, I was
       >  > going through mine. I have missed you so much!!! I won’t say anything too much
       > > ben*, but you get the message. I feel closer to you know. I miss you, your
       .> > body:, your totr.rr.iness...
        V- >
                                                                                                     EXHIBIT B n.3
       > >
       > >
      ■>     >   l usli always take ca; s of you, mi amor. You
       •-•   >   know that, i know, tkewise, you wjfi take care of me. You live up to your
       >     >   promises, fvsiif always live up to mine. Thank God I made time for this, ctg
       >     >   fo.- now. Speak when l can.
       >     >
       > > TATATA.TTFN
       > >
       > > l&Yar.d KYA1 tfere*
       >>
       t anrwaxXJGeOCOCCeOGeGOCKmK)^^
Case 1:17-cv-20158-JEM Document 38 Entered on FLSD Docket 04/20/2020 Page 22 of 33


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    7 ha-e tried to l i>--t «$/ life, h ping that one 4c. 1 would hear from ,js {.gain. 1 v-s preparing, as 3 said, to he there at wldnighr. on your

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Case 1:17-cv-20158-JEM
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                                                                                of 133

                                                                                  EXHIBIT C2

                                                                               |/i/tike jX     i/KVovy
      from: fox58@cox.net
      Sent Tue 5/22/12 10:17 PM                                                                           !
      To: Rex nazir {le»con444#hotm*l.com)
      I want you in my life in every way. is that clear?

      Hearing you in pa-in causes.me interminable -grief. I wish I were rich so we
      coni'-?, travel the world together, and see everything that has been .denied yon.

      •Jacob, ml, I never cut. contact. I tried to- never act against your wishes.
      never to to give mv love with requirements. I wept when you said you did not
      want to see me anymore, but I vowed to do what, was best for you no matter the.
      cost to myself. I do kiss your vocab quiz in the hope that somehow you would
      know you were loved.

      I asked when we met that one thing never happen: that you ask me to do
      aDtaethiog and then hate me for it later. I do not like to write something
      that can be jsed against me. You told me the yahoo address was compromised,
      so.1 assumed from the tone *which did HOT sound like your voice) that someone
      was trying to get you and sse in trouble.

      1 drove to Miami over Christmas and drove around your neighborhood in the
      hopes of seeing you ok. It didn't work, obviously. I lost you, then was
      convinced 1 was to have to- fight for my freedom, and then I was convinced
      that I was to lose you, ray freedom and that you hated me to boot, I was
      devastated.

     1 have tried to live my life, hoping that one day I would hear from you
     again. I was preparing, as I said, to be there at midnight on your birthday,
     ever, enough I believed you no longer loved me, to take you where you needed
     to go and to give you some money to get a start. I would have been cruising
     Miami this summer in the hopes of seeing you ok.

      X love you and always will, whether you love me or no. I think you are
      amazing, and 1 will do everything in my power to make sure that you have the
      life you want.

     The fact that what you want includes me again is the greatest              joy of my’ life.
     Other people do not change that. I did everything I could for              you without
     contact: planning to see you and help as best I could, making              those who love
     za promise fco help you, searching for any information I could             get as to your
     well being.

     'iou have it all from me. Giving it to you will bring me joy. always.

      I hope this helps.

     f.L,
     T om




                                                                                                cf

  h»p://by!58w.bayi58.niai].live.com/mai]/Prin{Messages.aspx?cpids-i6b08ba]8-a4?d-J lei-... /6/4/20!2

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Case      Print Message
     1:17-cv-20158-JEM                                                  Page24
                        Document 38 Entered on FLSD Docket 04/20/2020 Page   1 of
                                                                               of233

                                                                                            EXHIBIT C3

   Re: back                                                                             Ca 0
     Prom: Tom <fox58#cox.net}
     Sent: Thu 5/10/121:48 PM                                                                   ceicd^^P
     To Rex nazir Clexicon444@hotm3il.com)

     I am overjoyed that you are ok.
     Sent from my Verizon Wireless BfaekSerry

     From: Rex nazir <lexiCGfyf44@hotmaif.com>
     Data: Thu, 10 May 2012 12:41:53 -0400
     To: Tom Keelan <fox58@cox.net >
     Subject: RE: back


     tom it is me.    will you calf

    Subject: Re: hack
    To: lexicon444@hotmail.com
    From: fox58@cox.net
    Date: Thu. 10 May 2012 16:32:18 +0000

     Where are you now?
     Sent from my Verizon Wireless SlackSerry

    From: Rex nazir < lexicon444@hotmail.com >
    Date: Thu, 10 May 2012 12:24:09 -0400
    To: Tom Keeian <fox58@coxnet>
    Subject: F;:E; back

    Tom here is the number please call me. 786-528-6925

    >    Date: Thu, 10 May 2012 12:10:18 -0400
    >    from: fox58@cox.net
    >    To: fexicon444@hotmail.com                  «r

    >    Subject RE: back
     >
    > Yes, of course.
    > — Rex nazir <iexicon444@hotmaii.com > wrote:
    :> >
    > > Can I call you please.
    > >
    >• > Subject: Re: hack
    > > To: fexfcoft444@hotmafl.com
    > > From: fox58@cox.net
    > > Date: Thu, 10 May 2012 15:50:12 +0000
    >    >
    >    >
    >    >
    >    >
    > > The fast thina I aot from this email before today was that: you wanted me in fail. And I said Jacob



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Case 1:17-cv-20158-JEM Document 38 Entered on FLSD Docket 04/20/2020 Page 25 of 33
  Hotmail Print Message                                                                                Page 2 of 2




     To:: lexieon444@hotmaii.com
     from: fox58@cox.net
     Date: Thu 10 May 2012 14:26:01 +0000

     How do I know it's you?
     Sent from my Verizon Wireless BtackBerry

     From: Rex mzir < lexicort444@hotmaif.com>
     Date: Thu, 10 May 2012 09:45:43 -0400
     To: Tom Keelan <foxS8@cox.net >
     Subject: back

     Hey whats.s up? I just got back from boarding school, fvty parents sent me because of me rebelfing-eating
     non-kosber not keeping the "hoiy“ Sabbath etc. anyway I am back. I got back a month ago,and parents
     are finally giving me freedom! How are you l missed you a lot and kept thinking about you I tried
     contacting you during therapy but f think you did not believe it was me. hope you answer sooa KYAL
     TTFN




                                                    «F




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Case 1:17-cv-20158-JEM Document 38 Entered on FLSD Docket 04/20/2020 Page 26 of 33

    Hotmail Print Message                                                                                                      f V1             Page 1 of 2

                                                                                                                                                             P
                                                                                                                                             S* y i          (\Jd, /'

              TA as you are
                         fo3cS5@cox.net
               S«w. Sa: 5/26/12 5:27 kU
              V          Sewnaza? tfexicott444#r,o:<n3i}.com)

                ;'.vr, tt:?:5a                                vr.sr.rar. -.1, sr.3 lias made       rwt feel wtr.coriti. ■ 7%'s.oi:.»   vu»
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               ..■war.';.              said vu undarscar.a naci*. other, and so be it. 2 civ-: '.'tv
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   Hoifnait Prim Message                                                                                               Page 2 of2



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       Case 1:17-cv-20158-JEM Document 38 Entered on FLSD Docket 04/20/2020 Page 28 of 33
                 EXHIBIT D (Quality and content of REAL email in discovery)

Unknown
From:                        Rex nazir [lexicon444@hotmail.com]
Sent:                        Thursday, May 19, 2011 2:20 PM
To:                          fox58@cox.net
Subject:                     RE: Spasmodic attacks of the diaphragm? (Another name for these?)


I didn't meant to make you worry!! I was just saying just for saying. SOrry, I will stop. Yes, fifteen long months, lol.

I will always CARE FOR YOU!!! get that?

Anyway, Sony for the brevity, library was closed today. TATA Speak to you tomorrow.


From: fox58@cox.net
To: texicon444@hotmail.com
Subject: RE: Spasmodic attacks of the diaphragm? (Another name for these?)
Date: Wed, 18 May 2011 14:17:09 -0400

Don't lose hope, whatever happens to me, don't lose hope, k?

Are you trying to give me a stroke? What is going to happen? As I said, all I NEED is your well-being. If you go to rehab, or
reform school, or whatever, I will not lose hope. If you were hurt, I could not forgive the universe. Or the people that
hurt you. Even if it is you. All the care I have given would be wasted. I risk the potential grief from this contact to make
sure you know someone cares, and will always do so. And for th joy you bring me. Please do not think things like this,
never mind say them. It sounds like a warning. You didn't mean it that way, I hope. FIFTEEN months, and the sentence is
over. Do not do anything that will make it worse. 15 months will be gone in a flash.

Spasmodic attacks of the diaphragm are also called HICCUPS. Do your quiz next time!

Not worry about you, not possible.

I mean don't worry about me because things are pretty good for me. Continue caring, PLEASE, but I am healthy and
doing reasonably well. The only thing wrong is worrying about you. So take care of YOU! For me, if you will not do it for
you.

Glad you won!!

I am glad I won too. I need to find more money in general. Trying to get Miami tutoring in the summer, but no takers
yet.

Sorry, don't mean to e sighing, but the phone I use must be replacing the word for thte word sigh.

"Contrite" means feeling sorry. Did you just say sorry for saying sorry? Cut it out!!! You have nothing to be sorry for. Not
to me, and not really to the world either.

You do this from a phone? I get it. Anyway, TOTS TA, darkness away. I hope you can answer before the weekend to
clarify that scare statement. Let nothing happen to you, and I will live in hope. Understood?

From: Rex nazir fmailto:lexicon444@hotmail.com]
Sent: Wednesday, May 18, 2011 12:41 PM
To: fox58@cox.net
Subject: RE: Spasmodic attacks of the diaphragm? (Another name for these?)

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Case 1:17-cv-20158-JEM Document 38 Entered on FLSD Docket 04/20/2020 Page 29 of 33



                             CERTIFICATE OF SERVICE



     A true and accurate copy of this appeal was sent to the 11th Circuit

     office in Atlanta on April 10.Under the prison mailbox rule, it

     is timely when it is received. Keelan entered it into the prison

     legal mail system so its date of receipt is logged. Copies were

     sent to all on this list in order that the issues might be publicly

     acknowledged. When the government lies about the cause of death of

     a homosexual, it is an issue for all of society to consider. EVERY

     statement contained herein is TRUE to the best of the petitioner'^

     Knowledge, and he will polygraph to any statement. It is hoped

     that any counter claims by Government witnesses would be open to

     the same standard.



                                             Signed on this date 4/10/11




                                             Thomas P. Keelan, petitioner



    C:

    Jennifer Cerny
    Paul Petruzzi
    Hon. Jose Martinez
    AUSA Vanessa Johannes
    Lambda Legal Defense Fund
    National Public Radio
    Miami Herald
                             Case 1:17-cv-20158-JEM Document 38 Entered on FLSD Docket 04/20/2020 Page 30 of 33

  Thomas P. Keelg
  FCI Fort Dix
  P *■ 0. Box 2000
  Joint Base MDL,    nO

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                                                           Tuttle CAP Building
                                                           56 Forsyth St. NW
                                                           Atlanta, GA                             *




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Case 1:17-cv-20158-JEM Document 38 Entered on FLSD Docket 04/20/2020 Page 31 of 33       ■su




                       FEDERAL CORRECTIONAL INSTITUTION

                                                           m.M
               The enclosed letter was processed through special mail
               procedures. This letter has been neither opened nor
               inspected. If the writer raises a question or problem over
               which this facility has jurisdiction, you may wish to return
               the material. If the writer encloses correspondence for
               forwarding to another address or includes unauthorized
               items, please return to the above address.___________




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      Case 1:17-cv-20158-JEM Document 38 Entered on FLSD Docket 04/20/2020 Page 32 of 33




                                 UNITED STATES COURT OF APPEALS
                                                     Eleventh Circuit
                                                    56 Forsyth St., NW
David J. Smith                                       Atlanta, GA 30303                        For rules and forms visit
Clerk of Court                                                                                www.ca11.uscourts.gov




                                                     April 20, 2020

           Clerk of Court
           U.S. District Court for the
                  Southern District of Florida (Miami)

           RE: Notice of Appeal, Request for Certificate of Appealability
                 Case No. 17-cv-20158-JEM, Keelan v. United States
                 Case No. 12-cr-20496-JEM-1, United States v. Keelan

           On April 16, 2020, the Court received the above-referenced documentation from Thomas
           Keelan. Pursuant to 11th Cir. R. 22-1(a) and Fed. R. App. P. 4(d), we are forwarding the
           documents to your court for processing in the above-referenced cases.

           By separate letter, Mr. Keelan is being advised of the transfer of his documentation to your court.

                                                                Sincerely,


                                                            David J. Smith/ekg
           Enc.
Case 1:17-cv-20158-JEM Document 38 Entered on FLSD Docket 04/20/2020 Page 33 of 33


                             UNITED STATES COURT OF APPEALS
                                FOR THE ELEVENTH CIRCUIT
                                ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                              56 Forsyth Street, N.W.
                                              Atlanta, Georgia 30303

    David J. Smith                                                                        For rules and forms visit
    Clerk of Court                                                                        www.ca11.uscourts.gov

                                               April 20, 2020

   Thomas Keelan
   98219-004
   FCI Fort Dix
   P.O. Box 2000
   Joint Base MDL, NJ 08640

   RE: Notice of Appeal, Request for Certificate of Appealability
         Case No. 17-cv-20158-JEM, Keelan v. United States
         Case No. 12-cr-20496-JEM-1, United States v. Keelan


   On April 16, 2020, the Court received the above-referenced documentation from you. Pursuant
   to 11th Cir. R. 22-1(a) and Fed. R. App. P. 4(d), we are forwarding the documents to the U.S.
   District Court for the Southern District of Florida for processing in the above-referenced cases.




                                                          Sincerely,


                                                     David J. Smith/ekg
